Case 1:16-cv-00563-TSE-TCB Document 132 Filed 12/09/16 Page 1 of 1 PageID# 2115



                                  ** CIVIL MOTION MINUTES **

 Date: 12/09/2016                            Before the Honorable: T.S. ELLIS, III

 Time: 01:14PM-01:45PM (00:31)               Civil Case No.: 1:16-CV-00563-TSE-TCB

 Official Court Reporter: Michael A. Rodriquez

 Courtroom Deputy: Margaret Pham


 ROSY GIRON DE REYES et al

 v.

 WAPLES MOBILE HOME PARK LIMITED PARTNERSHIP et al


 Appearances of Counsel for:

 ( X ) Plaintiff/Petitioner: Rebecca R. Wolozin, Jongwook P. Kim
 ( X ) Defendant: Grayson P. Hanes, Justin D. deBettencourt
 ( ) Other:

 Re:    Plaintiff’s Motion [103] re: Objections to Magistrate Judge’s Ruling/Recommendation


 Argued and:

 ( ) Granted             ( ) Denied          ( ) Granted in part/Denied in part

 ( ) Taken Under Advisement                  ( ) Continued to

 ( ) Report and Recommendation to Follow

           Motion Granted in part/sustained in part

           Both matters remanded to Magistrate Judge (documents re: work product to be
            submitted to Magistrate Judge for review)

           Parties are to go over redacted documents (on the basis of relevance) and submit to
            the court and Magistrate Judge a sub-list by COB Tuesday, December 13, 2016

 ( X ) Order to Follow
